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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

DAVID MARTINEZ,                               )
                                              )      Case 1:13-cv-00186
                Plaintiff,                    )
                                              )
       v.                                     )
                                              )
GC SERVICES, LP.,                             )
                                              )
                                              )
                Defendant.                    )

                                   NOTICE OF SETTLEMENT


       NOW COMES the Plaintiff, DAVID MARTINEZ, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 60 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.



Dated: April 8, 2013          Respectfully Submitted,

                                      By: /s/ Charles N. Lakins
                                      Charles N. Lakins, Esq.
                                      P.O. Box 91357
                                      Albuquerque, NM 87199
                                      (505) 404-9377
                                      Fax – (877) 604-8340

                                      Attorney for Plaintiff



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                                   NOTICE OF SETTLEMENT
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2013, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to all parties by the Court’s CM/ECF system.



                                              By: /s/ Charles N. Lakins
                                              Charles N. Lakins, Esq




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                                   NOTICE OF SETTLEMENT
